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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

TERRI WALDRON,                        )
                                      )
      Plaintiff,                      )        CIVIL ACTION NO.:
                                      )
v.                                    )
                                      )        JURY DEMAND
AUTOZONE, INC.,                       )
                                      )
      Defendant.                      )

                                 COMPLAINT

      COMES NOW, Terri Waldron, by and through the undersigned counsel, and

hereby files this Complaint against AutoZone, Inc. (hereinafter “Defendant”) and

shows this Honorable Court as following:

                           PARTIES OF THE CASE

                                          1.

      At all times relevant to this Complaint, Plaintiff Terri Waldron was and is a

resident of the City of Columbus, County of Muscogee, State of Georgia.

                                          2.

      Defendant is a corporation organized and existing under the laws of the State

of Nevada. Defendant’s principle place of business is located 123 South Front

Street, Memphis, Tennessee 38103. Defendant owns and operates an AutoZone

store located at 1321 South McKenzie Street, Foley, Alabama 36535. Defendant
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may be served with process by service on its registered agent C T Corporation

System located at 289 South Culver Street, Lawrenceville, Gwinnett County,

Georgia 30046.

                         JURISDICTION AND VENUE

                                         3.

      Plaintiff incorporates by reference paragraphs 1 and 2 as if fully set forth

herein.

                                         4.

      This Court has subject matter jurisdiction over this case pursuant to diversity

jurisdiction prescribed by 28 U.S.C. § 1332 because the matter in controversy

exceeds the sum or value of $75,000.00, exclusive of interest and costs, and there

is complete diversity between the parties.

                                         5.

      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(c) because

Defendant has sufficient minimum contacts with the State of Georgia and has

intentionally availed itself of the market within Georgia by owning and operating

numerous stores in the Middle District of Georgia, Columbus Division. When

served with process, Defendant will be subject to the jurisdiction and venue of this

Honorable Court.




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                                FACTUAL BACKGROUND

                                         6.

       Plaintiff incorporates by reference paragraphs 1 through 5 of her Complaint

as if fully set forth herein.

                                         7.

       On March 31, 2019, Defendant owned and operated an AutoZone auto parts

store located at 1321 South McKenzie Street, Foley, Alabama 36535. On March

31, 2019, Defendant held AutoZone auto parts store open to the general public.

                                         8.

       On March 31, 2019, Defendant exercised dominion and control over the

AutoZone auto parts store located at 1321 South McKenzie Street, Foley, Alabama

36535.

                                         9.

       On March 31, 2019, Defendant as owner and operator of the AutoZone auto

parts store, had the non-delegable duty to maintain its store in a safe condition for

invitees present on the premises.

                                        10.

       On March 31, 2019, Plaintiff Terri Waldron was present on Defendant’s

AutoZone auto parts store for the purpose of purchasing a new battery for the key




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fob to her vehicle. On said date and time, Plaintiff Terri Waldron was an invitee on

the premises of Defendant’s AutoZone auto parts store.

                                         11.

       After entering Defendant’s AutoZone auto parts store, Plaintiff Terri

Waldron began to look for a battery to purchase.

                                         12.

       As she walked around an oil display stand, Plaintiff Terri Waldron stepped

into a puddle of oil on the other side of the display that had spilled onto the floor.

Plaintiff Terri Waldron’s head hit the floor so hard that she lost consciousness.

                                CLAIMS FOR RELIEF

                        COUNT I – PREMISES LIABILITY

                                         13.

       Plaintiff incorporates by reference paragraphs 1 through 12 of her complaint

as if fully set forth herein.

                                         14.

       On March 31, 2019, Plaintiff Terri Waldron was an invitee on Defendant’s

premises.

                                         15.

       At all times relevant and material to this cause of action, Defendant, its

management, and its employees owed a duty to Plaintiff Terri Waldron to exercise


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due care in maintaining its premises and in keeping its premises free of dangerous

conditions.

                                         16.

      At all times relevant and material to this cause of action, Defendant, its

management, and its employees owed a duty to Plaintiff Terri Waldron to inspect

the premises for hazards which could have been discovered by reasonable

inspection procedures.

                                         17.

      Defendant, by and through its management and employees, failed to exercise

ordinary care and diligence in inspecting its premises and failed to maintain its

premises in a safe manner, the failures of which directly resulted in serious

personal injuries to Plaintiff Terri Waldron.

                                         18.

      As a direct and proximate result of the negligence of the Defendant, by and

through its management and employees, Plaintiff Terri Waldron was caused to

suffer a displacement of her cervical spine and two fractures of her pelvis.

                                         19.

      As a direct result of the personal injuries she sustained on Defendant’s

premises, Plaintiff Terri Waldron was required to and underwent medical care and

treatment, thereby incurring necessary medical expenses.


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         COUNT III - NEGLIGENT TRAINING AND SUPERVISION

                                          20.

       Plaintiff incorporates by reference paragraphs 1 through 19 of her Complaint

as if fully set forth herein.

                                          21.

       Defendant was negligent in failing to adopt appropriate policies and

procedures to make sure that adequate inspections, cleaning and maintenance were

performed on the premises and in failing to train its employees concerning safety

procedures for inspecting, cleaning and maintaining the premises.

                                          22.

       Defendant was negligent in training and supervising its employees.

                                          23.

       As a direct and proximate result of the Defendant’s negligence in training

and supervising its employees, Plaintiff Terri Waldron was seriously injured and

incurred medical expenses, pain and suffering and other actual and special

damages in an amount to be determined at trial.

                                          24.

       Plaintiff Terri Waldron is entitled to recover for her injuries, for the pain and

suffering she sustained, and all elements of damages allowed under the applicable




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law including, but not limited to, compensatory, general, special, incidental, and/or

all other damages permitted.

                                        25.

      Each of the foregoing acts and omissions constitute an independent act of

negligence on the part of Defendant and one or more of the above-stated acts were

the proximate cause of the injuries and damages sustained by Plaintiff Terri

Waldron. Defendant is liable for the injuries Plaintiff Terri Waldron sustained, her

pain and suffering, her cost of treatment and all other elements of damages allowed

under the applicable law.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Terri Waldron demands judgment against

Defendant for damages to which she is entitled by law, as well as all costs of this

action, interest and attorneys’ fees, to the full extent of the law, whether arising

under the common law and/or statutory law, including:

      a. For Plaintiff Terri Waldron to have a trial by jury;

      b. Judgment for Plaintiff Terri Waldron and against Defendant;

      c. Damages to compensate Plaintiff for her injuries, economic losses and

         pain and suffering;

      d. Pre and post judgment interest at the lawful rate;

      e. An award of attorneys’ fees; and


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      f. For any other relief as this Court may deem equitable and just, or that

         may be available under the law of another forum to the extent the law of

         another forum is applied, including but not limited to all reliefs prayed

         for in this Complaint and in the foregoing Prayer for Relief.



This 8th day of February, 2021.


                                              YATES LAW, LLC

                                              /s/ Albert “Todd” Maitland Yates, III
                                              Albert “Todd” Maitland Yates, III
                                              Georgia Bar No. 780360
                                              Attorney for Plaintiff


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